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                                                                              8


                                                                                           Apr 27, 2021

                              UNITED STA TES D ISTRICT CO URT
                              SO UTH ER N DISTRICT O F FLO RIDA
                21-20248-CR-MARTINEZ/BECERRA
                             CA SE N O .
                                         18U.S.C.j2252(*(2)and (b)(1)
                                         18U.S.C.j2252(a)(4)(B)and(b)(2)
                                         18U.S.C.j48(a)(2)(B)
                                         18U.S.C.j2253


    UN ITED STATES O F A M ERICA

    V.


    PREN TISS K .M A DDEN ,

                       Defendant.


                                           INDICTM EN T

           The Grand Jury chargesthat:

                                             CO UNT 1
                                   18U.S.C.j22524*(2)and (b)(1)
                                   (ReceiptofChild Pornography)
           On oraboutOctober8,2020,in M iam i-D ade County,in the Southern DistrictofFlorida,

    and elsewhere,the defendant,

                                     PRENTISS K .M ADD EN

    did know ingly receiveany visualdepiction,using any m eansand facility ofinterstate and foreign

    com m erce and that had been shipped and transported in and affecting interstate and foreign

    com m erce by any m eans, including by com puter,and the production of such visualdepiction

    involved the use ofa m inorengaging in sexually explicitconduct,asdefined in Title 18,United

    StatesCode,Section2256(2),andsuchvisualdepictionwasofsuch sexuallyexplicitconduct;in
    violationofTitlel8,UnitedStatesCodeSection2252(a)(2)and(b)(1).
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                                              CO UNT 2
                                   18U.S.C.j22524*(2)and (b)(1)
                                   (ReceiptofChildPornography)
           On oraboutFebruary 7,2021,in M iam i-D ade County,in the Southern D istrictofFlorida,

    and elsewhere,the defendant,

                                      PRENTISS K .M A DDEN

    did know ingly receive any visualdepiction,using any m eansand facility ofinterstate and foreign

    com m erce and that had been shipped and transported in and affecting interstate and foreign

    com m erce by any m eans,including by com puter,and the production of such visual depiction

    involved the use ofa m inorengaging in sexually explicitconduct,as defined in Title 18,United

    StatesCode,Section2256(2),andsuchvisualdepictionwasofsuchsexuallyexplicitconduct;in
    violationofTitle18,UnitedStatesCodeSection2252(*(2)and(b)(1).
                                              CO UNT 3
                                   18U.S.C.j22524*(2)and(b)(1)
                                   (ReceiptofChild Pornography)
           On oraboutFebruary l8,2021,in M iam i-D ade County,in the Southern D istrictofFlorida,

    and elsewhere,the defendant,

                                      PRENTISS K .M ADD EN

    did know ingly receiveany visualdepiction,using any m eansand facility ofinterstate and foreign

    com m erce and that had been shipped and transported in and affecting interstate and foreign

    com merce by any m eans,including by com puter,and the production of such visual depiction

    involved the use ofa m inorengaging in sexually explicitconduct,asdefined in Title l8,United

    StatesCode,Section 2256(2),and suchvisualdepiction wasofsuch sexually explicitconduct;in
    violationofTitle18,UnitedStatesCodeSection2252(19(2)and(b)(1).
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                                             COU NT 4
                                18U.S.C.j2252(a)(4)(B)and(b)(2)
                                (PossessionofChildPornography)
           On oraboutFebruary 24,2021,in M iam i-Dade County,in theSouthern DistrictofFlorida,

    thedefendant,

                                     PRENTISS K .M A DDEN,

    didknowinglypossessmatter,thatis,one(l)iphone12Pro,whichcontainedanyvisualdepiction
    that had been shipped and transported using any m eans and facility of interstate and foreign

    com m erce,and in and affecting interstate and foreign com m erce,and which wasproduced using

    m aterialswhich had been so shipped and transported,by any m eans,including by com puter,and

    the production ofsuch visualdepiction having involved the use ofa m inorengaged in sexually

    explicitconduct,asdefined in Title l8,United StatesCode,Section 2256(2),and such visual
    depiction was of such conduct, all in violation of Title 18, United States Code, Sections

    2252(a)(4)(B)and(b)(2).
           PursuanttoTitle18,UnitedStatesCode,Section2252(b)(2),itisfurtherallegedthatsuch
    visualdepictioninvolvedaprepubescentminorandaminorwhohadnotattainedtwelve(12)years
    ofage.
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                                               CO UN T 5
                                       18U.S.C.j48(a)(2)(B)
                                  (Creation ofAnimalCrush Video)
           On oraboutM ay 23,2019,in M iam i-Dade County,in the Southern DistrictofFlorida,the

    defendant,

                                       PRENTISS K .M A DDEN,

    did knowingly create an anim alcnlsh video,which wasdistributed in,and using a meansand facility of,

    interstatecommerce,inviolationof,Title18,UnitedStatesCode,Sections48(a)(2)(B)and2.
                                      CRIM IN AL FO R FEITU RE

                   The allegations ofthislndictm entarehereby re-alleged and by thisreference fully

    incorporated herein forthepurpose ofalleging forfeitureto the United StatesofA m ericaofcertain

    property in which the defendant,PRENTISS K .M A DDEN ,hasan interest.

           2.      U pon conviction ofa violation of Title 18,United States Code,Section 2252,as

    alleged in this lndictm ent,the defendant shallforfeit to the United States,pursuantto Title l8

    U nited StatesCode,Section 2253,the following property:

           (a)     AnyvisualdepictiondescribedinTitle l8,UnitedStatesCode,Sections2251,2251A,or
    2252,orany book,magazine,periodical,film ,videotape,orotherm atterwhich containsany such visual

    depiction,which was produced,transported,mailed,shipped orreceived in violation ofTitle 18,United

    StatesCode,Chapter110,
                         .

           (b)     anyproperty,realorpersonal,constituting ortraceabletogrossprofitsorotherproceeds
    which the defendantobtained from such offense;and

                   any property,realorpersonal,used orintended to beused to comm itorto promotethe

    commission ofsuch offense,and any property traceableto such property

                   Theproperty subjectto forfeitureasaresultoftheallegedoffensesincludes,butisnot
    limitedto,the following'
                           .
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                 (1)iphoneX smartphone,M odelM QCNZLL/A,IM EI# 35672308007210;seized
                 on oraboutFebruary 24,2021;

                 (2)iphone 12 Pro smartphone,M odelMGJW 3LL/A,IMEI#356681l1299299,
                 seized on oraboutFebruary 24,2021;and

                 (3)SilverAppleM acBookProLaptop,M odelA 1278,Serial#CIM PM 3NKDTY3,
                  seized on oraboutFebruary 24,2021.

    Allpursuantto Title 18,United StatesCode,Section 2253(a)and theproceduressetforth in Title21,
    UnitedStatesCode,Section 853,asincorporatedbyTitle 18,UnitedStatesCode,Section2253(19.
                                                     A TRUE BILL


                                                     FOREPERSON

    JUAN AN TON IO G   AL
    A CT   UN ITED STATES ATTORNEY
            %



       RIST PH E H .H UDO
    A SSISTANT   ITED STATES A TTORN EY
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                               UNITED STATES DISTRICT CO URT
                               SO UTHERN DISTRICT OF FLO RIDA

                           CASE NO .

     UN ITED STATES O F AM ERICA

     V.

     PRENTISS K.M AD DEN,
                       Defendant.                /

                                     CRIM INA L C OV ER SH EET

     1. Did this m atteroriginate from a m atterpending in the CentralRegion ofthe United States
          Attorney'sOfficepriorto August9,2013(Mag.JudgeAliciaValle)?          No
     2. Did this m atteroriginate from a m atterpending in the Northern Region ofthe United States
          Attorney'sOfficepriortoAugust8,2014(Mag.JudgeShaniekMaynard)?No
     3.Did this m atteroriginate from a m atterpending in the CentralRegion ofthe United States
          Attorney'sOfficepriortoOctober3,20l9(Mag.JudgeJaredStrauss)?         No

                                                      Respectfully subm itted,
                                                      JUAN ANTONIO GO NZALEZ
                                                      ACTING UNITED STATES AU ORNEY



                                               BY:
                                                      Chris herH .H udo
                                                      A ssistantU nited StatesAttorney
                                                      FLA BarN o.        92454
                                                      l0l South U .S.H ighw ay 1,Suite 3100
                                                      Fol4 Pierce,Florida 34950
                                                      Tel:772-293-0951
                                                      Fax:772-466-1020
                                                      Email:Christopher.Hudock@usdoj.gov
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                          UNITEDSTATESDISTRICT CoUIW
                                           SOUTH ERN DISTRICT O F FLORIDA

UM TEDSTATESOFW              W CA                      CASE NO .
 V.
 PRENTISS K.MADDEN                                     CERTIFICATE OF TRIAL ATTOR NEY.
                                                       Superseding CaseInformation:
              Defendant.                    /
  CourtDivision:tselectone)                            Newdefendantts) I
                                                                       S Yes I--INo
  UZ Miami F-lKeyWest F-IFTL                           Numberofnewdefendants
  VIWPB U-IFTP                                         Totalnumberofcotmts
       1.lhavecarefully considered theallegationsoftheindictm ent,thenumberofdefendants,thenumberofproG ble
         witnessesand thelegalcom plexitiesofthelndictm ent/lnformation attachedhereto.
       2. Iam awarethattheinform ation supplied on thisstatem entwillberelied uponbytheJudgesofthisCourtin
          settingtheircalendarsand scheduling crim inaltrialsunderthem andateoftheSpeedy TrialAct,
          Title28 U.S.C.Section 3161.
          Interpreter:(YesorNo) No
         Listlanguageand/ordialect
       4.Thiscase willtake 5 days forthepartiestotry.
         Pleasecheck appropriatecategory andtypeofoffenselistedbelow :
            (Checkonlyone)                            (Checkonlyone)
        I 0to5days              Ir
                                 zl                  Petty
        11 6to10days            C1                   Minor              X .
        III 11to20days          r-l                  Misdemeanor        U
        IV 21to60days           l7)                  Felony
        V 61daysandover         171
       6.HasthiscasepreviouslybeenfiledinthisDistrictCoul't? (YesorNo) No
          lfyes:Judge                                   CaseN o.
          (Attachcopyofdispositiveorder)
          Hasacomplaintbeenfiledinthismatter? (YesorNo)Yes
          Ifyes:MagistrateCaseNo.21-mj-02479-O'SULLb
          Relatedm iscellaneousnum bers:
          Defendantts)infederalcustodyasof 3/16/2021
          Defendantls)instatecustodyasof
          Rule20 from theDistrictof
          lsthisapotentialdeathpenaltycase?(YesorNo) No
       7. Doesthiscmse originatefrom am atterpending intheCentralRegion oftheU .S.Attorney'sOfficepriorto
          August9,2013(Mag.JudgeAlicia0.Valle)?(YesorNo) No
       8. Doesthiscase originatefrom am atterpendingin theNorthern Region oftheU.S.Attorney'sOffice priorto
          August8,2014(Mag.JudgeShaniekMaynard?(YesorNo) No
       9. Doesthiscase originatefrom amatterpending in theCentralRegion oftheU.S.Attorney'sOfficepriorto
          October3,2019(Mag.JudgeJaredStrauss)?(YesorNo) No



                                                                    Chrit      erH .Hud ck
                                                                    AssistantUnited States Attorn y
                                                                    FLA BarNo.       92454
*penaltySheeqs)attachi                                                                                REV 3/19/2l
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                            UNITED STATES DISTRICT CO UR T
                            SO UTH ERN DISTRICT O F FL OR IDA

                                       PEN ALTY SH EET

    D efendant'sNam e: PRENTISS K .M ADD EN

    CaseN o:

    Counts#:1-3

    ReceiptofChild Pornography                                                   --   -     --

    Title l8,United StatesCode,Section 2252(a)(2)
    *M ax.Penalty:20 years
      WR efersonly to ptusible term ofincarceration,does notinclude possible Gnes,restitution,
               specialassessm ents,parole term s,orforfeituresthatm ay be applicable.

    Count#:4

    Possession ofChild Pornography

    Titlel8,UnitedStatesCode,Section2252(a)(4)(B)
    *M ax.Penalty:20years(imageofprepubescentminororminorunder12yearsofage)
      WR efersonly to possibleterm ofincarceration,does notinclude possible fines,restitution,
              specialassessm ents,parole term s,orforfeitures thatm ay be applicable.

     Count#:5

     Creation ofAnim alCrush Video

     Title 18,UnitedStatesCode,Seçtion48(a)(2)(B)                                         - -
     *M ax.Penalty:7 years
       WRefersonly to possibleterm ofincarceration,doe.s notinclude possible fines,restitution,
               specialassessm ents,paroleterm s,orforfeitures thatm ay be applicable.
